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 1    Jorge Alejandro Rojas
      Rojas.jorge96@gmail.com
 2    Plaintiff in Pro Se
      557 Cambridge Way
 3    Bolingbrook, IL 60440
      (424) 219-1582
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 8                       IN THE UNITED STATES DISTRICT COURT

 9                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

10    JORGE ALEJANDRO ROJAS,                          Case No.: 2:22-cv-04100-FLA-PVC
                     Plaintiff,
11
                                                        Judge Fernando L. Aenlle-Rocha
      vs.                                               Magistrate Judge Pedro V. Castillo
12
      OWNER OF TELEPHONE NUMBER                             DISCOVERY MATTER
13    310-955-5813,
14                   Defendant.
                                                      STATUS REPORT CONCERNING
15                                                    DISCOVERY

16          Plaintiff, Jorge Alejandro Rojas (“Plaintiff”), pursuant to this Court’s July 19,

17    2022 Order Granting Plaintiff’s Ex Parte Application for Subpoena Duces Tecum

18    to Determine Identity of Defendant (Dkt. 12), provides the following Status Report.

19          This Court granted Plaintiff’s second application of a subpoena on August 16,

20    2022, and required routine discovery reports beginning September 16, 2022 in that
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 1    Order (Dkt 18). Plaintiff is unsure if the Court’s August 16, 2022 order vacated or

 2    modified the reporting requirements of the July 19, 2022 order, so he is providing

 3    the following status report.

 4       A. Status of Service of the Discovery Requests

 5       Plaintiff served the first subpoena, directed at Bandwith.com CLEC, LLC on or

 6    about July 25, 2022. Plaintiff served the second subpoena, directed at GoTo

 7    Communications, Inc, on or about August 16, 2022.

 8       B. Information Received in Response to the Requests

 9       The first subpoena identified GoTo Communications, Inc as being the next

10    wholesale customer for the telephone number at issue in this matter. Plaintiff then

11    sought a subpoena directed at this entity, which the Court granted. Plaintiff has not

12    received responsive records from GoTo Communications, Inc, as of this filing.

13       C. Communications with Identified Parties

14       Plaintiff has not yet identified the ultimate end user which is making the

15    telemarketing calls alleged in the Complaint. Plaintiff notes that since the filing of

16    the Complaint there have been several additional telephone calls, and Plaintiff

17    intends to amend the Complaint to reflect the additional calls upon receipt of the

18    identity of the end user.

19          Respectfully submitted,

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 1          Dated: August 19, 2022                 /s/ Jorge Alejandro Rojas
                                                   JORGE ALEJANDRO ROJAS
 2                                                 Rojas.jorge96@gmail.com
                                                   Plaintiff in Pro Se
 3                                                 557 Cambridge Way
                                                   Bolingbrook, IL 60440
 4                                                 (424) 219-1582

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 6                             CERTIFICATE OF SERVICE

 7          As this is an ex parte application for which no Defendant has been identified

 8    yet, no copy of this filing was provided to any Defendant.

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